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                                    UNITED STATES DISTRICT COURT
                                     NORTHERN DISTRICT OF TEXAS
                                          DALLAS DIVISION

 UNITED STATES OF AMERICA                               §
                                                        §
 v.                                                     §    CASE NO.: 3:21-CR-388-X
                                                        §
 ROBERT MCDONALD (1)                                    §


                 ORDER ACCEPTING REPORT AND RECOMMENDATION OF THE
            UNITED STATES MAGISTRATE JUDGE CONCERNING PLEA OF GUILTY

         After reviewing all relevant matters of record, including the Notice Regarding Entry of a Plea of Guilty,
the Consent of the defendant, and the Report and Recommendation Concerning Plea of Guilty of the United
States Magistrate Judge, and no objections thereto having been filed within fourteen days of service in
accordance with 28 U.S.C. § 636(b)(1), the undersigned District Judge is of the opinion that the Report and
Recommendation of the Magistrate Judge concerning the Plea of Guilty is correct, and it is hereby accepted by
the Court. Accordingly, the Court accepts the plea of guilty, and ROBERT MCDONALD (1) hereby adjudged
guilty of 21 U.S.C. 843(b) – Using a Communication Facility to Facilitate a Drug Felony. Sentence will be
imposed in accordance with the Court's scheduling order.

☐       The defendant is ordered to remain in custody.

       The Court adopts the findings of the United States Magistrate Judge by clear and convincing evidence
        that the defendant is not likely to flee or pose a danger to any other person or the community if
        released and should therefore be released under § 3142(b) or (c).

☐       Upon motion, this matter shall be set for hearing before the United States Magistrate Judge who set
        the conditions of release for determination, by clear and convincing evidence, of whether the
        defendant is likely to flee or pose a danger to any other person or the community if released under §
        3142(b) or (c).

☐       The defendant is not ordered detained pursuant to 18 U.S.C. § 3143(a)(2) pending determination of
        whether it has been clearly shown that there are exceptional circumstances under § 3145(c) why the
        defendant should not be detained under § 3143(a)(2), and whether it has been shown by clear and
        convincing evidence that the defendant is not likely to flee or pose a danger to any other person or the
        community if released under § 3142(b) or (c). This matter shall be referred to the United States
        Magistrate Judge who set the conditions of release.

        Signed this 17th day of December, 2024.



                                                                      ________________________________
                                                                      BRANTLEY STARR
                                                                      UNITED STATES DISTRICT JUDGE
